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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

UNITED 8TATES OF AMERICA,

Plaintiff,

No:  05-CR- 1849 (7H)

DANA JARVIS,

Defendant.

SEALED DOCUMENT

AFFIDAVIT OF DEFENDANT DANA JARVIS IN SUPPORT OF HIS REPLY TO THE
UNITED STATES’ RESPONSE

TO HIS
MOTION TO DISMISS FOR IRREPARABLE STRUCTURAL ERROR & ADDITIONAL
FIFTH IXTH ENDME TIONS

I, Dana Jarvis, the defendant in the above utled case, do sweat and affirm the following:
Sep demboy” bad

1. In the time frame of late August 2005 through the beginning of-Gadememey 2006, [ was in pre-
tial incarceration at a facility called RCC in Albuquerque, New Mexico on the charges in this
present case.

2, In RCO, the area where attorneys meet clients is such that there is regular conversation
amongst inmates and attorneys passiag through.

3. T aaitially met Mr. Robert Gorence in this area. Mr. Gorence told me he wanted to get into

went ndthiag but dohwe 4.7;
this case. From the time of my attest, | ears coostenienbizeniy oan retained counsel. T had

hited Clif McInerye to handle the forfeiture portion of my case and the United States held a hearing
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and temored Mr. McIntrye sometime in late October 2005, so I was again secking retained counsel
when Mr. Gorence approached me.
4. On December 16, 2005 1 met with Mr. Gorence at RCC. [ had drafted 2 hand-drawn
calendar and based upon this calendar showing Mr. Gorence on this date, I believe this to be so. I
had a couple of quick, like ten minute conversations with Mr. Gorence and a couple of formal
mectings.
3. Tn the first “meeting,” it is my recollection that I met with Mr. Gorence in the holding room
at RCC. ‘The second meeting was in the glass attorney-client meeting room.
6. I believe the first “meeting” was about the cost of reptesentation and the property and assets
I could use to pay for counsel. Mr. Gorence had a copy of the indictment and we went through the
property which appears from page eight to the end of the indictment. The government had a long
list of property in the indictment and without saying exactly what Mz. Gorence and J discussed, i
can say we went thtough the whele property list tagether. Mr. Gorence wrote notes about our
conversation on the indictment. I have provided my attorneys the indictment with Mr. Gorence’s
netes written on it, I have this document because it was in the file Mr. Goreuce retarted to me that
he had apparently kept on my case.
7 I believe the next meeting was on December 22, 2005. Thad prepared a manila envelope of
A of io wa meetin a e
documents for Mr. Gorence and pave it to him at tmeeeeng. As with the indictment, Mr.
Gorence renamed the manila envelope and documents to me when he returned my file sometime
after the court refused to let him represent me. 7 made an inventory listing on the face of the manila
envelope of the documents included in the envelope I gave to Mr. Gorence. ] made a separate
inventory mirroring the one on the face of the manila envelope so I could keep wack of what I had
provided to Mr. Gorence. My attorncy Joe Romero presently has both of these items. The inventory

ists 11 categories of documents, and some of the categories show the number of pages of each
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document. From the number of pages shown, there were at least 29 pages, and in total, 1 would
guess closer to 40 + pages of documents given ta Mr. Gorence. Item numbers 1, 4, 6, 7, and cight
on the inventory list were confidential work product, meaning my personal and secret evaluations of
matters relating to the defense of my ctiminal case. Mt. Gorence talked to me about doing the
motion he eventually filed on my behalf Mr. Gorence took the manila envelope with the
documents. He told me he was going out of town over the weekend but would work up a quote on
my case, within maybe five or six days. An initial estimate in cost for his representation was given to
me by Mr. Gorence.

5. On January 9, 2007 Mz. Gorence and Mr. Kennedy filed a Motion on my behalf to get my
assets released so 1 could get the money to hire them.

a T told lots of people that Mr, Gorence was my new attormey because I was very excited about
them fepresenting me.

10, in the January 19, 2007 hearing, Mz. Govrence represented me and spoke on my behalf on
the motion they had fled for me to get my assets teleased. | was given a copy of the motion they
filed and they accurately reflected my request to the Court that I wanted my property released as it
was niy desire to retain them in this casc-.

11, At the hearing, Mr. Gorence spoke to the Court on my behalf and tied to explain to the
Court that everything | owned was frozen or had ér peadeas filed against it. It was my understanding
that if the motion Mx. Gorence filed on my behalf were granted | would use the released assets to
pay these attorneys to represent me on this whole criminal case. At the hearmg I was given a copy of
the “Limited Entry of Appearance” they tried to file and J understood from it and from their filing
of the Motion and being in couct that day that they were representing me and that they would

continue if the Motion were granted so I could pay therm.
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12. The court dened Mr. Gorence’s motion and refused to allow them to represent me further.
When Joe Romero was appointed as my CJA counsel | immediately asked hitn to get my assets

released so T could hire counsel as J still wanted to hire Mr. Garence. Joe Romero filed the motion I

dl
asked him to on February 3, 2006. ee de ea
ut ater Te os vee HONS dee tured
13. At some point, a month of so later, which date [ do not remember Me “Gorence seat oy file

back to me. He returned all the documents I had given him and also documents reHecting
telephone messages and emails he had received and of sent from his office when he was trying to get
my assets teleased.

14. On May 12, 2006 I wrote a letter to Mr. Gorence. It was mailed on May 16" from the

Detention Center. The letter was returned to me as Mr. Gotence would not accept it.

13. T later found out that Mr. Gorence had entered his appearance for my co-Defendant Dennis
Wilson.
16. I have not signed any waiver of conflict presented to me by Mr. Gorence or any waiver

regarding Dennis Wilson. 7 am familiar with a warver of conflict becausc Clif McIntyre explained
all this to me when he tried to represent both me and Cathy Fitzgerald. In the hearing about Cliffs
representation of both of us, the Court also explained the whole conflict issue to Cathy and T. Mr.
Gotence never advised me like this, nox asked me to sign a waiver of conflict regarding Dennis
Wilson. T bave never watved any conflict regarding Dennis Wilson. 1 have never received any letter
from Mr, Goarenee eclling me he would not or was not representing me.

FURTHER AFFIDANT SAYETH NAUGHT.

Lome SS: Cet Lak

Dana Jarvis
STALE OF NEW MEXICO )
4 55.

by
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COUNTY OF TORRANCE }

Lome. Tar’

Dana Jarvis

SUBSCRIBED AND SWORN TO before me this-Z day of November, 2007.

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(Notary Public

iy Commussion Expires:

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